
CALLAHAN, Circuit Judge,
dissenting:
I dissent because the majority, in reviewing Cole’s assertion that he will be tortured if returned to Honduras because of his gang tattoos, improperly substitutes its judgment for that of the BIA. Specifically, the majority: (1) manufactures a procedural basis for remand by deciding that the BIA failed to give “reasoned consideration” to Cole’s evidence; (2) fails to follow the standard for granting relief under the Convention Against Torture (“CAT”), see Arteaga v. Mukasey, 511 F.3d 940, 944 (9th Cir.2007), by reweighing the evidence and stringing together a series of hypothetical events to justify its conclusion that Cole may be tortured if returned to Honduras because he would be misidentified as being a gang member based on his tattoos; (3) fails to appreciate the lack of evidence that Cole would be intentionally deprived medical care if he were returned to Honduras; and (4) accepts Cole’s problematic argument that he may be entitled to CAT relief on the basis of his gang-related tattoos. I would deny Cole’s petition on the basis that substantial evidence supported the BIA’s decision and nothing Cole presented in his petition compels a contrary result.
I
Neither the IJ nor the BIA made an adverse credibility finding, therefore we take Cole’s factual allegations as true. Aguilar-Ramos v. Holder, 594 F.3d 701, *776704 (9th Cir.2010). Because of his criminal background, the IJ and BIA concluded that Cole is not entitled to either asylum or withholding of removal. Cole does not challenge these decisions. Rather, the only issue before this court is his assertion that he is entitled to protection under CAT.
A
1. Cole’s Background and Testimony
Cole is a native and citizen of Honduras who entered the United States with his family when he was eleven years old and has since acquired a lengthy criminal record. He has no extended family in Honduras. Cole is African-American and has numerous gang tattoos on his arms, legs and face that he acquired while in prison after he joined the Crips, an African-American gang. After his release from prison, Cole apparently left the gang and worked for a homeless services agency. He states he did not get the gang tattoos removed because tattoo removal is a long and painful process.
In 2007, Cole was shot in a drive-by shooting.1 As a result of the shooting, he suffers from certain ongoing medical problems and has a defective, fragile skull.
In 2008, because of a 1999 conviction for possession of cocaine for sale, Cole was placed in removal proceedings where he sought asylum, withholding of removal, and CAT relief. The IJ determined that Cole was removable as an aggravated felon and therefore ineligible for asylum and withholding of removal. Cole did not contest those decisions before the BIA.
At his immigration hearing, Cole testified that he feared he would be tortured or killed if he were returned to Honduras. He asserted that gangs, police, death squads, or even his neighbors may torture or kill him because of his race, gang tattoos, former gang membership, demeanor or accent, and that the torture and killing would be done with the acquiescence of the government.2 Cole’s sister and mother also testified that they feared he would be tortured or killed if returned to Honduras on the basis of his race and tattoos. In addition, Cole claimed that he would be intentionally denied medical care by public health officials and that this denial of health care would constitute torture.
2. Cole’s Experts
Cole supported his claim with testimony from two purported experts: Luis Javier Rodriguez (“Rodriguez”) and Javier Canales Mesa (“Canales”). Rodriguez was offered as an expert on Central American gangs. Rodriguez testified that he was a self-employed author who had not written *777about Honduras and had no specific education, background, or expertise on the subject of Honduras or gangs in Honduras. The IJ was not convinced that Rodriguez was an expert on Central American gangs or had any specialized knowledge on the interaction between Honduran former gang members and the Honduran authorities, but permitted Rodriguez to testify as an expert on gangs and on the narrow issue of racial dynamics between Los Angeles and Central American gangs.
Rodriguez testified that the major gangs in Honduras are the Hispanic gangs, Mara Salvatrucha, also known as MS-13, and the Mara 18, also known as the 18th Street, which are American gangs that have spread to Central America. He stated that the Crips are an African-American gang from Los Angeles. He testified that, in Los Angeles, the Crips are viewed as rivals to the Hispanic gangs. Rodriguez asserted that, in the United States, gang members may recognize rival gang members’ tattoos, which can lead to violence. He speculated that the rivalry between the Hispanic gangs and the Crips would exist in Honduras and that someone with Crips tattoos might be “threatened, beaten, or killed” by the Hispanic gangs there if rival gangs were to see the Crips tattoos. Rodriguez also testified that there is a “very strong anti-black culture” in Honduras.
Rodriguez testified that gang members obtain tattoos as a means of identifying them affiliation with a particular gang. He stated that removing tattoos is an expensive and painful process that could take several sessions and could leave scarring. He testified that tattoo removal was possible in Honduras, but that he knew of only two facilities and they lacked adequate personnel and equipment, so there was a backlog of people wanting to get their tattoos removed.
The IJ accepted Cole’s second expert, Canales, as an expert on the issue of the treatment of suspected gang members by Honduran police and rival gang members. Canales had worked with former gang members in Honduras. He testified that because Cole’s gang tattoos indicate his membership in the Crips, Cole may be seen as a threat to some Honduran Hispanic gang members and accordingly there was a “big possibility” that Cole could be killed. However, on cross-examination, Canales admitted that he had not worked with any Crips. Canales testified that former Honduran gang members often try to remove their tattoos because of the risk of violence from rival gangs, police, and “civil groups.” He stated that some individuals try to remove the tattoos themselves, although there are three tattoo removal places in Honduras that will professionally remove tattoos.3 He claims that it takes four to six sessions to remove a tattoo and that it is a painful process which may result in scarring. ‘
Canales stated that it is illegal in Honduras to be a gang member or to have a gang-related tattoo. He asserted that the government does not investigate the murders of gang members and that the police will .direct violence at suspected gang members, or may even kill them. In addition, Canales testified about incidents in which Honduran police or prison guards killed suspected gang members in prison. He also testified that government-sanctioned death squads torture and kill undesirables, including suspected gang members. Canales opined that because of his tattoos, Cole has a greater than 75% chance he will be killed by Hispanic gang *778members and a 90% probability that he would be detained by police.
Finally, Canales testified that most health care professionals in Honduras would refuse to treat an individual with tattoos because they would suspect he is a gang member. Canales provided one example in which he stated that he accompanied a bleeding tattooed gang member to a hospital and that this individual died in the waiting room because the staff would not treat the man on account of his tattoos. Canales asserted that the government is “negligent” because it does not hold doctors accountable and “these events occur very often.”
B
1. The IJ’s Decision
The IJ denied Cole’s application for relief under CAT. The IJ considered both the documentary evidence and witness testimony and discussed the arguments raised by both Cole and the government.
The IJ recognized that torture is an extreme form of punishment and that “an alien cannot establish eligibility for [CAT relief] by stringing together a series of suppositions to show that it is more likely than not that torture will result where the evidence does not establish each step in the hypothetical chain of events is more likely than not to happen.” The IJ found that Cole was attempting to do just that, by asserting:
that it is more likely than not that he will be arrested in Honduras and that once he is arrested, he will be detained for a substantial amount of time and if so detained, he will then be killed or tortured by the security forces or he will receive no medical care or the gangs will kill or torture him with the government’s acquiescence.
The IJ concluded that although there was “evidence that arrests, abuse, and killings occur, the evidence does not show that it is more likely than not to happen to the respondent.” The IJ noted that, according to the Country Report, torture is illegal in Honduras. Further, “neither the witnesses [n]or the documentary evidence presented in the case establishes that a majority of deported gang members are in fact arrested by the police, held in custody, and tortured or killed.”
The IJ rejected Cole’s assertion that “the lack of medical care and poor prison conditions are specifically intended to inflict severe physical or mental pain and suffering,” or that the government intended those consequences. The IJ, citing Villegas v. Mukasey, 523 F.3d 984 (9th Cir. 2008), found that Cole was “unable to show that Honduras has a specific intent to inflict suffering on prisoners or patients or suspected gang members by creating the conditions in their jails or medical facilities.”
Finally, the IJ concluded that:
The respondent also has not shown that the government of Honduras will acquiesce in his torture at the hands of other gang members or the death squads nor has he established that it is more likely than not to occur to him. It is not enough to show that gang members have killed other gang members or that death squads have tortured and killed gang members.
... The evidence does not establish that the government acquiesces in such conduct and in fact, reflects the opposite. The government is trying to handle the huge gang problem they face and are attempting to receive specialized training. They are taking steps to prosecute police officers for abuse of power. Accordingly, the Court finds that the respondent is unable to establish a likeli*779hood of torture in Honduras by either the government or with the government’s acquiescence....
2. The BIA’s Decision
In October 2009, the BIA, in a single judge decision, affirmed the IJ. The BIA agreed with the IJ that Cole:
failed to meet his burden of proving that it is more likely than not that he will be tortured based on his race and gang related tattoos and former gang member status upon return to Honduras. See 8 C.F.R. §§ 1208.16-18; Arteaga v. Mukasey, 511 F.3d 940 (9th Cir.2007). The Immigration Judge properly concluded that the expert witness’s claim that the respondent will be tortured was unpersuasive in light of the other evidence, including the State Department report, contained in the record because the respondent’s expert failed to give specific examples to corroborate his opinion; the record does not compel a contrary conclusion. See Dukuly v. Filip, 553 F.3d 1147 (9th [8th] Cir.2009); Shehu v. Gonzales, 443 F.3d 435 (5th Cir.2006). He further properly determined that the evidence does not establish that each event in the chain of events proposed by the respondent is more likely than not to occur. Matter of J-F-F-, 23 I. &amp; N. Dec. 912 (A.G.2006); 8 C.F.R. §§ 1208.16-.18. For example, the evidence does not establish that, as a black, tattooed, ex-gang member, it is more likely than not that the police would become aware of the respondent’s return to Honduras, that upon becoming aware of him, it is more likely than not that the police would detain him, and that it is more likely than not that, once the respondent was detained, they would use physical force against the respondent that would rise to the level of tor-toe. Id. Likewise, the respondent failed to meet his burden of proving that it is more likely than not that a death squad, rival gang members, or any other entity would become aware of his return to Honduras and that it is more likely than not that any of these groups would then torture him. Additionally, the respondent submitted numerous articles which detail that the presence of a tattoo can cause an automatic association with gangs, and that a tattoo or suspected gang affiliation can equate to harsh treatment. However, there is no indication that the respondent could not have his tattoos removed so that he would not be perceived as a gang member upon return to Honduras. Finally, we cannot conclude that the lack of medical treatment to the respondent is tantamount to torture. Although the respondent has shown that he faces some risks of harm when returned to Honduras, the Immigration Judge properly determined that the testimony and evidence does not establish that he will “more likely than not” be tortured.
Cole timely petitioned this court for review. In his petition, Cole alleged that the BIA erred by (a) failing to give proper weight to his experts’ testimony; (b) finding that he had failed to establish a clear probability of future torture by the police, rival gang members, or death squads; (c) failing to consider Cole’s prison conditions and denial of medical care claims; and (d) failing to give proper weight to Cole’s evidence he will be tortured because the BIA found Cole could remove his tattoos.
II
Our review focuses on the BIA’s single-member decision but we look to the IJ’s decision “as a guide to what lay behind the BIA’s conclusion.” Delgado v. Holder, 563 F.3d 863, 866 (9th Cir.2009) (quoting Ave*780tova-Elisseva v. INS, 213 F.3d 1192, 1197 (9th Cir.2000)).
We review factual determinations supporting the denial of CAT relief under a deferential substantial evidence standard. See Arteaga, 511 F.3d at 944 (“[t]he BIA’s findings underlying its determination that an applicant is not eligible for relief under the CAT are reviewed for substantial evidence”). Under this standard, “the administrative findings of fact are conclusive unless any reasonable adjudicator would be compelled to conclude to the contrary.” 8 U.S.C. § 1252(b)(4)(B) (emphasis added); see also INS v. Elias-Zacarias, 502 U.S. 478, 481 &amp; n. 1, 112 S.Ct. 812, 117 L.Ed.2d 38 (1992) (“To reverse the BIA finding we must find that the evidence not only supports that conclusion, but compels it.”). This court “must uphold the IJ’s determination if it is supported by reasonable, substantial, and probative evidence in the record.” Halim v. Holder, 590 F.3d 971, 975 (9th Cir.2009) (quoting Zehatye v. Gonzales, 453 F.3d 1182, 1185 (9th Cir. 2006)).
We have held that “[t]his strict standard bars the reviewing court from independently weighing the evidence and holding that the petitioner is eligible for asylum, except in cases where compelling evidence is shown.” Kotasz v. I.N.S., 31 F.3d 847, 851 (9th Cir.1994). “We are not free to look anew at the testimony and then measure the soundness of the agency’s decision by what we would have found. Nor does evidence compel the opposite conclusion just because it would also support a different result.” Donchev v. Mukasey, 553 F.3d 1206, 1213 (9th Cir.2009).
To be eligible for deferral of removal under the CAT, the applicant must establish that he would more likely than not be tortured at the instigation of, or with the consent or acquiescence of, a public official. See 8 C.F.R. §§ 1208.16(c)(2), 1208.18(a)(1); Kamalthas v. INS, 251 F.3d 1279, 1282 (9th Cir.2001). The “consent or acquiescence” requirement means that the government must be aware of the allegedly tortuous conduct, or at least willfully blind to it. Zheng v. Ashcroft, 332 F.3d 1186, 1188-89 (9th Cir.2003) (citation omitted).
The applicable regulation, 8 C.F.R. § 1208.18(a)(1) states:
Torture is defined as any act by which severe pain or suffering, whether physical or mental, is intentionally inflicted on a person ..., when such pain or suffering is inflicted by or at the instigation of or with the consent or acquiescence of a public official or other person acting in an official capacity.
See also Kamalthas, 251 F.3d at 1282; Sinha v. Holder, 564 F.3d 1015, 1026 (9th Cir.2009). In addition, “[tjorture is an extreme form of cruel and inhuman treatment and does not include lesser forms of cruel, inhuman or degrading treatment or punishment that do not amount to torture.” 8 C.F.R. § 1208.18(a)(2). Furthermore, “[tjorture does not include pain or suffering arising only from, inherent in or incidental to lawful sanctions.” 8 C.F.R. § 1208.18(a)(2); Al-Saher v. I.N.S., 268 F.3d 1143, 1147 (9th Cir.2001).
Ill
Applying the applicable standard of review, the majority commits four errors in granting Cole’s petition. First, the majority manufactures a procedural basis for remand by concluding that the BIA failed to give “reasoned consideration” to Cole’s experts’ testimony and evidence related to Cole’s ability to get his tattoos removed. Second, the majority impermissibly (a) reweighs the evidence, see, e.g., Kotasz, 31 F.3d at 851; and (b) strings together a series of hypothetical events, related to Cole’s claim that he will be misidentified as *781being a gang member and then tortured by rival gangs, police, or death squads, none of which is more likely than not to occur. See Matter of J-F-F-, 23 I. &amp; N. Dec. 912 (A.G.2006). Third, the majority misreads the record in concluding that the BIA did not adequately consider whether Cole would be intentionally deprived of medical care if he were returned to Honduras. Fourth, the majority decision allows a petitioner to obtain CAT relief on the basis of having voluntarily obtained a gang-related tattoo. This is problematic for a number of reasons, not the least of which is that it appears to undermine our holding in Arteaga, 511 F.3d 940, that being a tattooed ex-gang member does not constitute belonging to a particular social group.
A
The majority manufactures a procedural basis for remand by deciding that the BIA failed to give “reasoned consideration” to “the potentially dispositive testimony” of both of Cole’s experts. Maj. Op. at 772, 774-75. Contrary to the majority’s perspective, the BIA and IJ considered all of Cole’s evidence.
1. The BIA Considered Both Experts’ Testimony
The majority finds the BIA erred because “the BIA stated only that the testimony of one of Cole’s experts ‘was unpersuasive in light of the other evidence, including the State Department report, ... because [he] failed to give specific examples to corroborate his opinion.’ ” The majority claims that the BIA failed to address Cole’s other expert at all. Maj. Op. at 772-73. The majority professes not to know which expert the BIA was referring to, but concludes that whichever expert it was, the BIA was obligated to state the reasons “ ‘why the testimony was insufficient to establish the probability of torture necessary to grant CAT relief.’” Id. (quoting Aguilar-Ramos, 594 F.3d at 706 n. 7). This is not a fair reading of the record.
The BIA stated that “[t]he Immigration Judge properly concluded that the expert witness’s claim that the respondent will be tortured was unpersuasive in light of the other evidence, including the State Department report, contained in the record because the respondent’s expert failed to give specific examples to corroborate his opinion....” Only two experts testified— Rodriguez, who primarily testified about the racial dynamics of Los Angeles gangs spreading to Central America, rather than about Cole being tortured in Honduras, and Canales, who testified extensively about the various ways that Cole might be tortured. In context, it is clear that the BIA was specifically referring to Canales’s testimony.4
Furthermore, we do not review the BIA’s decision in a vacuum, but rather look to the IJ’s decision “as a guide to what lay behind the BIA’s conclusion.” Delgado, 563 F.3d at 866 (quoting Avetova-Elisseva, 213 F.3d at 1197). The BIA’s decision generally affirmed the IJ’s decision and the IJ explicitly discussed both Canales’s and Rodriguez’s testimony, before concluding that “neither the witnesses [n]or the documentary evidence presented in the ease establishes that a majority of deported gang members are in fact arrested by the police, held in custody, and tortured or killed.” It is clear that the IJ considered both of Cole’s experts’ testimo*782ny, but found other evidence more compelling, and it is equally clear that the BIA considered the IJ’s decision and affirmed on the same basis.
The majority asserts that the BIA’s “rationale for rejecting one expert’s opinion is entirely unsupported by the record for two reasons”: (1) the State Department report “corroborates rather than contradicts many aspects of both experts’ testimony”; and (2) the experts “did testify about specific incidents of police torturing or killing suspected gang members.” Maj. Op. at 773. The majority cites examples from the report and from Canales’s testimony in support of these contentions. Id. at 772-73.
The majority, however, overlooks the documentary evidence and testimony supporting the opposite conclusion.5 The BIA stated:
the evidence does not establish that, as a black, tattooed, ex-gang member, it is more likely than not that the police would become aware of the respondent’s return to Honduras, that upon becoming aware of him, it is more likely than not that the police would detain him, and that it is more likely than not that, once the respondent was detained, they would use physical force against the respondent that would rise to the level of torture. Id.
The IJ found that “[njeither the witnesses[n]or the documentary evidence presented in this case establishes that a majority of deported gang members are in fact arrested by the police, held in custody, and tortured or killed.” The IJ noted that, “[hjere, the Department of State report for Honduras reflects that torture is against the law,” and observed that:
The report reflects that the public ministry has filed charges against police officers for torture and illegal detention and that an office of internal affairs has been created. There is a special prosecutor for human rights and charges against the police have been found to have merit. Members of the government, including the chief of police of Lasaba and the police commissioner have been prosecuted and sentenced for the Porvener Jail massacre and authorities prosecuted 268 police officers for offenses ranging from abuse of authority to drug trafficking, rape, and homicide. Furthermore, the evidence reflects that Honduras is one of the poorest countries in the hemisphere and therefore, a lack of resources remains a problem.
A review of the 2008 Country Report (the most current at the time of Cole’s hearing) supports the IJ’s and BIA’s conclusions. That report noted that the Honduran constitution and law prohibit torture. In addition, arbitrary arrest and detention are prohibited by the Honduran constitution and other laws. Regarding arrests, the State Department Human Rights report states that:
The law states that police may arrest a person only with a court order, unless the arrest is by order of a prosecutor, made during the commission of a crime, made when there is strong suspicion that a person has committed a crime and may try to evade criminal prosecution, or made when the person is caught with evidence related to a crime. Police must *783clearly inform the person of the grounds for the arrest. Police must bring a detainee before a competent authority within 24 hours. The prosecutor has 24 hours to decide if there is probable cause for an indictment, and a judge then has 24 hours to decide whether to issue a temporary detention order that can last up to six days, by which time the judge must hold a pretrial hearing to examine probable cause and make a decision on whether pretrial detention should continue.
Further, while the reports document instances of abuses committed by police and prison authorities, they also document the government’s efforts to investigate prison officials who allegedly abused their authority, and note that twenty-one members of the government, including a chief of police and a police commissioner, had been convicted for their part in a jail “massacre” in 2003. The State Department’s Human Rights report noted that “[t]he Office of Internal Affairs investigates allegations of illegal activities committed by members of the police force. The Preventive Police and the DGIC each have an office of professional responsibility that conducts internal reviews of police.” Other evidence also supports the conclusion that the Honduran government investigates and prosecutes police officers accused of wrongdoing. And Honduras has sought assistance in training its law enforcement and military: “Foreign donors and international organizations provided human rights training to police and military officials.” There was also evidence that the government actively investigated and prosecuted gang members. The 2007 Congressional Research Service report documented the government’s efforts to crack down on gang members and noted that Honduras had received assistance in its efforts from several U.S. agencies.
In sum, it appears that the BIA’s rationale for rejecting Cole’s evidence is supported by the record. When presented with a record containing conflicting evidence, we are restrained to determine only whether the agency’s decision is supported by substantial evidence. See, e.g., 8 U.S.C. § 1252(b)(4)(B); see also Elias-Zacarias, 502 U.S. at 481 &amp; n. 1, 112 S.Ct. 812; Halim, 590 F.3d at 975.
B
The above discussion of the majority’s alleged procedural errors implicates a more fundamental issue: there is no compelling evidence that Cole will be tortured by rival gangs, death squads, or the police on the basis of being misidentified as a gang member because of his tattoos.
The majority suggests that Cole may be identified by rival gangs because of his tattoos, and that if he were identified as a rival gang member, he would be in peril of being tortured or killed by them. See Maj. Op. at 766, 766, 772-75, 775. This assumes that a Honduran gang would recognize Cole’s tattoos and consider him a rival.6 But there is no evidence that the Crips operate in Honduras. The majority also assumes that Honduran gangs will direct violence against Cole even though he is a former member of a gang that does not operate in Honduras. Furthermore, even if all of these possibilities were considered probabilities, it is only “torture” for the purposes of CAT relief if the Hon*784duran government condones or acquiesces in such gang activity.
There is evidence in the record that the Honduran government does not condone gang activity. For example, Canales testified that being a member of a gang is a crime in Honduras and that the police will detain and arrest gang members. There is also documentary evidence that the police investigated and prosecuted suspected gang members.
This, however, is not evidence that Cole will be tortured by the police or prison officials because he is misidentified as being a gang member based on his Crips tattoos. Although there was evidence that having gang-related tattoos can lead to imprisonment in Honduras, see Maj. Op. at 766, 767, Cole is a former member of a gang — a gang that does not operate in Honduras — and there is no evidence that the police or prison authorities would continue to detain a person who they mistakenly identified as a gang member.7 Even if the police and prison officials did detain or imprison Cole, neither of these acts by themselves constitute torture. See, e.g., 8 C.F.R. § 1208.18(a)(3) (“Torture does not include pain or suffering arising only from, inherent in or incidental to lawful sanctions.”); Prasad v. INS, 47 F.3d 336, 339-40 (9th Cir.1995) (no past persecution where the petitioner was arrested once, detained for four to six hours and beaten).
The majority cites Canales’s testimony and documentary evidence that Honduran police physically abuse suspected gang members. See Maj. Op. 766. Similarly, the majority discusses evidence of violent acts directed at prisoners, including gang members. Id. at 766, 767-69, 772. However, there was also evidence in the record that tended to show that the Honduran government neither instigates nor acquiesces in such behavior by police officers and that it prosecutes police officers who violate the law. Moreover, evidence that the Honduran government opposes gangs is not evidence that it would condone violence against a person misidentified as a gang member or would torture such a person.
Cole’s argument that he will be tortured by death squads, with the government’s acquiescence, also lacks compelling evidence. Cole must show that the government “is unwilling or unable to control those elements of its society responsible for targeting a particular class of individuals.” See Avetova-Elisseva v. INS, 213 F.3d 1192, 1196 (9th Cir.2000) (citation and internal quotation marks omitted). The majority notes Canales’s testimony that death squads, comprised of “police and other powerful citizens,” kill suspected gang members with “complete impunity,” as well as documentary evidence of killings committed by “vigilantes.” Maj. Op. at 766, 767. But other than the possibility of someone recognizing Cole’s tattoos as gang tattoos, the majority does not explain how Cole might come to the attention of these groups. Furthermore, because Cole is not a member of a Honduran gang, there is no evidence that such groups— with or without the government’s acquiescence — would torture Cole once the mis*785identification became known.8 Also, there is evidence that the government prosecuted government officials who violated its laws.
In sum, the majority does not point to any compelling evidence that individuals such as Cole — who are tattooed ex-gang member deportees to Honduras — have come, or are more likely than not to come, to the attention of rival gangs, police, or death squads and are then tortured at the instigation of, or with the acquiescence of, the government. It is only by taking a number of hypothetical events and then assuming that each one of them inexorably leads to the next hypothetical event in the sequence, that one can reach the conclusion that it is more likely than not that Cole will be tortured if he is returned to Honduras.
The majority does just that. It strings together a series of hypothetical events to reach a thoroughly speculative conclusion. Matter of J-F-F-, 23 I. &amp; N. Dec. at 917— 18 (“The evidence does not establish that any step in this hypothetical chain of events is more likely than not to happen, let alone that the entire chain will come together to result in the probability of torture of respondent.”); see also Savchuck v. Mukasey, 518 F.3d 119, 123-24 (2d Cir.2008) (holding that a series of hypothetical events related to the petitioner’s economic hardship if returned to the Ukraine were too speculative to establish that he would be tortured under CAT). The majority cannot, and does not, point to any compelling evidence that Cole will be misidentified as a gang member on the basis of his tattoos or that this misidentification is likely to lead to his being tortured at the instigation of, or with the acquiescence of, the government.
C
The majority concedes that for Cole’s claim that he may be denied medical care to rise to the level of torture for CAT purposes, he must show that the denial is intentional.9 Maj. Op. at 773-74 (citing, inter alia, 8 C.F.R. § 1208.18(a)(5); Villegas, 523 F.3d at 989). The majority then concludes that the BIA failed to consider Cole’s claims that he would be tortured as a result of the intentional denial of medical care. Maj. Op. at 773-74. Again, the majority misconstrues the record.
Although the majority does not specifically identify the relevant language in the BIA’s decision related to Cole’s denial of medical care claim, it appears to be referencing the BIA’s statement that it “cannot conclude that the lack of medical treatment to the respondent is tantamount to torture.” The majority interprets this as the BIA failing to specifically consider whether Cole would be intentionally denied health care. Maj. Op at 774.
*786However, the majority overlooks the IJ’s decision. See Delgado, 563 F.3d at 866. The BIA affirmed the IJ’s determination that Cole was “unable to show that Honduras has a specific intent to inflict suffering on prisoners or patients or suspected gang members by creating the conditions in their jails or medical facilities.” A review of the IJ’s decision confirms that the IJ specifically rejected Cole’s contention that he would be tortured as a result of intentional denial of medical care.
Furthermore, there appears to be but a single anecdote provided by Canales to support the contention that Cole may be intentionally denied medical care. Canales described an incident in which he witnessed staff at a hospital let a tattooed gang member that he had brought to the hospital bleed to death, allegedly on account of his gang tattoos. Maj. Op. at 774. Even assuming that the events occurred as Canales described them, this is too slender a reed to compel the conclusion that Cole will more likely than not be intentionally denied medical care because of his gang tattoos. It is more than offset by the evidence in the 2008 Country Report of the efforts undertaken by the Honduran government to combat gangs and gang violence.
In sum, the BIA, in affirming the IJ’s decision, agreed that Cole was “unable to show that Honduras has a specific intent to inflict suffering on prisoners or patients or suspected gang members by creating the conditions in their jails or medical facilities,” and the evidence does not compel a contrary result.
D
While the majority is careful not to explicitly hold that being a tattooed gang member or tattooed ex-gang member is a particular social group for the purposes of obtaining CAT relief, all of the harm that Cole will allegedly be exposed to is based on his being misidentified as belonging to a gang. The majority appears to assume that because Cole has gang tattoos, he is in effect like every tattooed gang suspect, gang member, or former gang member.
The majority’s apparent acceptance of an undifferentiated class of tattooed gang members and tattooed former gang members as being eligible for CAT relief on account of their tattoos, appears to be contrary to our decision in Arteaga, 511 F.3d at 944. In Arteaga, in the context of a withholding of removal claim, we rejected the petitioner’s contention that he was part of a particular social group based on his status as a tattooed gang member, gang member, or tattooed former gang member. Id. at 945-6. We stated:
We cannot conclude that Congress, in offering refugee protection for individuals facing potential persecution through social group status, intended to include violent street gangs who assault people and who traffic in drugs and commit theft. Following in the analytical footsteps of President Lincoln, calling a street gang a “social group” as meant by our humane and accommodating law does not make it so. In fact, the outlaw group to which the petitioner belongs is best described as an “antisocial group[.]”
Id. at 945-46. Further,
To do as Arteaga requests would be to pervert the manifest humanitarian purpose of the statute in question and to create a sanctuary for universal outlaws. Accordingly, we hold that participation in such activity is not fundamental to gang members’ individual identities or consciences, and they are therefore ineligible for protection as members of a social group under 8 U.S.C. § 1231(b)(3).
Id. at 946. We also rejected Arteaga’s claim that he belonged to a particular so*787cial group comprised of tattooed former gang members. Id. We stated, “Arteaga’s attempt to present himself as a former member of a social group fares no better. Disassociating oneself from a group does not automatically put one in another group as group is meant in the law.” Id.
Of course, relief under CAT is not dependant upon an individual being a part of a protected group, see, e.g., Kamalthas, 251 F.3d at 1283-84. Nonetheless, I cannot square the majority’s concern for the harm Cole will allegedly be exposed to on being misidentified as belonging to a gang with our decision in Arteaga.
Moreover, I have grave doubts as to whether a tattoo, or at least Cole’s tattoos, should form a basis for relief under CAT. A tattoo is not something that is innate to an individual or beyond his or her control. We have held that “tattooing is purely expressive activity, fully protected by the First Amendment.” Anderson v. City of Hermosa Beach, 621 F.3d 1051, 1055 (9th Cir.2010). Nonetheless, there are limits to speech under the First Amendment and even consequences to speech that is constitutionally protected. Furthermore, there seems to be no disagreement that tattoos are removable, even if this process may entail some pain.
Basing CAT relief on a tattoo would appear to encourage an individual who does not want to be deported to his home country to get a tattoo that is offensive in his home country (even if it is not necessarily offensive in the United States) and refuse to have it removed.10 Would this lead an individual who did not want to return tó China to obtain a Falun Gong tattoo? Would a prominent swastika tattoo compel CAT relief against repatriation to Israel?
Fortunately, this case does not present such extreme situations. Still, I would not grant CAT relief to an individual because of tattoos that allegedly may cause the individual to be misidentified as a member of a violent street gang which is disapproved of by the government.
CONCLUSION
I disagree with the majority on several counts. First, the majority manufactures reasons to remand the case by mischaracterizing the BIA’s decision and reweighing the evidence. Second, the majority concludes that remand is necessary because the BIA failed to give “reasoned consideration” to evidence that Cole may be tortured in Honduras by rival gangs, police or death squads, on account of his gang tattoos, when there is no compelling evidence of a likelihood of torture, and there is evidence that the government neither instigates nor acquiesces in torture by any of these groups. Third, the majority incorrectly asserts that remand is necessary because the BIA failed to consider whether Cole would be intentionally denied medical care rising to a level of torture. But the record shows that the BIA affirmed the IJ’s factual determination that Cole would not be intentionally denied medical care, and that determination is *788adequately supported by the evidence. Finally, the majority’s reliance on Cole’s tattoos as a basis for relief under CAT is problematic and appears to be inconsistent with our decision in Arteaga, 511 F.3d 940, that gangs do not constitute particular social groups for immigration purposes. Because I believe the majority erred as to each of these matters, and because I find that the BIA’s decision is supported by substantial evidence, I dissent.

. Although the majority asserts that "rival gangs could still identify him as a Crips gang member because of his tattoos,” Cole never testified that any rival gang ever identified him as a gang member, whether because of his tattoos or not. Cole testified about a confrontation with rival gang members at the Santa Monica Pier while he was with friends, but he did not assert that any of the rival gang members recognized him as a Crip or that anyone noticed his tattoos. Similarly, when Cole was shot, he was with a friend in his car and although he claimed that the people who shot him identified themselves as members of a Hispanic gang, Cole does not state that any mention was made of his race or his gang tattoos.


. Although Cole’s race is a factor, there is little discussion of race in the proceedings, and neither Cole nor the majority contend that he would be tortured based on his race alone. Rather, Cole’s race is raised as an additional way that Hispanic gang members, death squads, the police, or medical authorities may recognize Cole as a Crip. It is only the combination of Cole being an African-American with Crips tattoos that would make him identifiable as a (former) Crip.


. It appears that the third program is run by doctors who come to Honduras every couple of months from the United States. They typically remove 90% of a tattoo in four sessions.


. Another possibility, not considered by the majority, is that the BIA’s statement is a typographical error: the BIA failed to pluralize "witness”, writing "witness’s” when it actually meant "witnesses’ ” which would render the majority’s argument moot.


. In addition to Cole's testimony, over 700 pages of documents were submitted by the parties, including newspaper articles regarding gang violence in the United States and Honduras, general research articles related to gang issues in the United States and Honduras, Department of State Human Rights Reports and Country Reports for 2007 and 2008, a summary of criminal proceedings against Cole, as well as Cole’s medical history related to his gunshot wound.


. Neither of Cole's experts testified that Honduran gangs would assault Cole because of his tattoos. Rodriguez testified that rival gangs in the United States "may recognize rival gang members’ tattoos,” and admitted that he had no specific knowledge about gangs in Honduras. Canales, who worked with former gang members in Honduras, testified that Cole, because of his tattoos, may be seen as a threat by a Honduran gang.


. It seems questionable that having a gang-related tattoo that was obtained in another country and has no relationship to gangs that are active in Honduras would be considered to be illegal and would lead to Cole's detention and torture. The State Department Human Rights report sets forth the procedures for arresting a suspect, which include the prosecutor determining whether there is probable cause for an indictment and a requirement that the suspect be brought before a judge for a probable cause determination. Accordingly, it is unlikely that Cole would be arrested, detained, processed by a prosecutor and a judge, and then tortured by police on the basis of his American gang tattoos.


. Indeed, the facts that Cole is an African-American and that his tattoos do not indicate membership in a Honduran gang — which appear to be primarily of Hispanic ethnicity— suggest that he is not likely to be a target of death squads or vigilantes.


. The majority also appears to have concluded that because the BIA did not specifically refer to whether prison officials will intentionally subject Cole to dangerous conditions amounting to torture, the BIA failed to give adequate consideration to this contention. Maj. Op. at 774, 774 n. 10. However, the BIA affirmed the IJ's decision and the IJ specifically found that Cole was “unable to show that Honduras has a specific intent to inflict suffering on prisoners or patients or suspected gang members by creating the conditions in their jails or medical facilities.” In addition, there is evidence that the authorities are doing their best with limited resources to enforce the laws, even against police officers and prison officials.


. Judge Noonan's concurrence appears to misconceive Cole’s desires. Cole does not want to return to Honduras. Accordingly, he has no incentive to remove his tattoos — which appear to be the thing delaying his removal to Honduras. Furthermore, it is doubtful that the BIA could force Cole to remove his tattoos. See Anderson, 621 F.3d at 1055.
Rather, on remand, the BIA might ascertain whether Cole has made any effort to remove his tattoos. If Cole has not removed his tattoos and declines to do so — and Cole is otherwise determined to be removable — the BIA should be free to remove him immediately, or possibly after a short period of time in which he could have the tattoos removed in the United States.

